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 6

 7                         UNITED STATES DISTRICT COURT
 8                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
                                               Case No.: Cr.S-12-0169-MCE
10   UNITED STATES OF AMERICA,
11             Plaintiff,                      ORDER FOR TRANSPORTATION AND
                                               SUBSISTENCE, PURSUANT TO 18
12       vs.                                   U.S.C. § 4285
13   EILEEN KNIGHT,
14             Defendant.
15

16

17
                                       ORDER
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19
         TO: UNITED STATES MARSHAL, EASTERN DISTRICT OF CALIFORNIA.
20
         GOOD CAUSE APPEARING, AND IN THE INTERESTS OF JUSTICE, IT
21
     IS ORDERED THAT:
22
         The United States Marshal for the Eastern District of
23
     California is authorized and directed to furnish the above-named
24
     defendant, Eileen Knight, with one-way transportation from Los
25
     Angeles, California to Sacramento, California on the morning of
26
     October 15, 2014; not to exceed the amount authorized as a per
27
     diem allowance for travel under § 5702(a) of Title 5, United
28
     States Code; and for Eileen Knight’s one-way return from


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 1   Sacramento, California to Los Angeles, California after her
 2   hearing on October 15, 2014.
 3       Eileen Knight is indigent and financially unable to travel
 4   to Sacramento, California.        This request is authorized pursuant
 5   to 18 U.S.C. § 4285.
 6

 7   IT IS SO ORDERED.
 8
     Dated:     October 8, 2014
 9                                          _____________________________________
10
                                            CAROLYN K. DELANEY
                                            UNITED STATES MAGISTRATE JUDGE
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